UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TENNESSEE

N()RTHERN DIVISION
JOHNSON & ASSOCIATES, LLC & CIVIL ACTION NO.
JOHNSON INDUSTRIAL, LLC
JUDGE
VERSUS
MAGISTRATE JUDGE

THE HANOVER INSURANCE GROUP,
INC., THE HANOVER AMERICAN
INSURANCE COMPANY & BB&T
INSURANCE SERVICES, INC.

NOTICE OF REMOVAL

PLEASE TAKE NOTICE that, with a full reservation of all rights, defenses, and, The
Hanover lnsurance Group, lnc. (“Hanover Group”), and The Hanover American Insurance
Company (“Hanover American”), named as a defendants in that certain proceeding entitled
Johnson & Assocz`al’es, LLC and Johnson Industrial, LLC v. The Hcmover Insurance Group, Inc.,
The Hc/nover American Insurance Company, and BB&T lnsumnce Servz`ces, lnc., No.
B0024946(l\/l), filed in the Chancery Court for Sullivan County, State of Tennessee, hereby files
this Notice of Removal and removes this action to the United States District Court for the
Eastern District of Tennessee, Northern Division. Pursuant to 28 U.S.C. §§ 1441 and 1446, The
Hanover Group and Hanover American respectfully state the grounds of removal as follows:

l.

The state court civil action described above Was commenced by Johnson & Associates,
LLC and Johnson lndustrial, LLC (“Plaintiffs”) in the Chancery Court for Sullivan County, State
of Tennessee, When they filed their Complaint on or about December 19, 2()l4, Wherein they

named Hanover Group and Hanover American as defendants

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2.

This is an action for insurance coverage under a policy allegedly issued to Plaintiffs by
Hanover Group and Hanover American, and procured by BB&T lnsurance Services, Inc.
(“BB&T”) for alleged property damage resulting from a burglary.

3.

Hanover Group was served with the state court Complaint and Summons on January 8,
2015. Hanover American was served with the state court Complaint and Summons on January 8,
2015. Thus, thirty (3()) days have not elapsed since Hanover Group and Hanover American first
received Plaintiffs’ Complaint and Summons through service of process or otherwise, and
removal is timely under 28 U.S.C. §§ 1441 and 1446.

4.

Venue is proper in this Court because the Chancery Court for Sullivan County, State of
Tennessee, is a state court within the Eastern District of Tennessee, Northern Division, pursuant
to 28 U.S.C. § l23(a)(2).

5.

Plaintiff, Johnson & Associates, LLC, avers in the Complaint that it is a Virginia limited

liability company with its principal place of business in Virginia.
6.

Plaintiff, Johnson lndustrial, LLC, avers in the Complaint that it is a Tennessee limited

liability company with its principal place of business in Virginia.
7.
Defendant, Hanover Group, is a Delaware corporation, with its principal place of

business in l\/lassachusetts.

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8.

Defendant, Hanover American, is a New Hampshire corporation, with its principal place
of business in l\/lassachusetts.

9.

Defendant, BB&T, is, upon information and belief, a North Carolina corporation, with its
principal place of business in North Carolina.

lO.

According to the allegations of Plaintiffs’ state court Complaint, Plaintiffs “are in the
business of leasing...the Covered Property.” Compl. 1[ 9. They alleged further that the “Policy
recited that the Covered Property was insured, that it was vacant, that the ‘limit of insurance was
$l2,945,622, and that the ‘theft deductible’ was $l(),OOO.” Ia’. 11 22. Allegedly, as a result of a
“burglary/breaking and entering at the Covered Property. . .the Covered Property suffered
significant damage.” ]a'. 1111 26-27. Plaintiffs further allege that the “cost to repair the Covered
Proerpty has been estimated at no less than $937,67(),” but “the Hanover Defendants improperly
and in violation of the Policy. . .denied Plaintiffs’ claim.” Id. 111 28-30. Plaintiffs also allege that
if it is found that the Policy does not cover their loss, then they are “entitled to recover from
[BB&T] for failure to procure insurance.” [d. 11 50.

ll.

Plaintiffs pray for damages “in a total amount not less than $l,OO0,00() and not more than

$l,§O0,000, Subject to revision as additional information becomes available.” Id., at Prayer for

Relief.

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l2.

Based upon the nature and extent of the damages alleged and prayed for in the Plaintiffs’
Complaint, the amount in controversy exceeds $75,()()(), exclusive of interest and costs.

l3.

Thus, the claim asserted by Plaintiffs is a civil action brought in a state court over which
this United State District Couit would have original jurisdiction under of 28 U.S.C. § 1332,
because the parties to this case are citizens of different state and the amount in controversy
exceeds $75,()00, exclusive of interest and costs, and may be removed to this Court pursuant to
28 U.S.C. § l44l.

l4.

Attached hereto collectively as Exhibit “A” are copies of all process, pleadings, and
orders served upon Hanover Group, pursuant to 28 U.S.C. §l446(a), as well as a copy of all
process, pleadings and orders available in the state court record pursuant to 28 U.S.C. §l447(b)

l§.
Plaintiffs did not make a demand for a trial by jury in state court.
16.

All defendants that have been named in Plaintiffs’ Complaint, that were properly served
at the time of the filing of this Notice of Removal have consented, in writing, to the removal of
this action. That consent is attached to this notice as Exhibit “B.”

l7.
Pi‘omptly after filing this Notice of Removal, Hanover Group and Hanover American

will serve a copy this Notice of Removal upon opposing counsel and file with the Clerk of the

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Chancery Court for Sullivan County, State of Tennessee, a copy of this Notice of Removal, as
provided by law, to effect the removal of the state court action, pursuant to 28 U.S.C. § 1446(d).

WHEREFORE, The Hanover lnsurance Group, Inc., and The Hanover American
lnsurance Company, pray that this Notice of Removal be accepted as good and sufficient, and
that the aforesaid action, entitled Johnson & Associales, LLC and Johnson Indusz‘rz`al, LLC v. The
Hanover lnsurance Group, Inc., The Hanover American lnsurance Company, and BB&T
lnsurance Servz`ces, Inc., No. B0024946(M), filed in the Chancery Court for Sullivan County,
State of Tennessee, be removed to the United State Court for the Eastern District of Tennessee,
Northern Division, and that this Honorable Court assume full and complete jurisdiction thereof
and issue all necessary orders and grant all general and equitable relief to which defendants are
entitled.

Respectfully submitted,

EGERTON, McAFEE, ARMISTEAD & DAVIS, P.C.

BY: S/ Rockforde D. Kz`ng

 

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ATTORNEYS FOR THE HANOVER INSURANCE
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INSURANCE COMPANY

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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Notice of Reinoval was served on February
4, 2015 with the Clerk of Court by using the CM/ECF system. The undersigned further certifies
that a copy of the foregoing Notice of Removal was served on counsel for all parties to this
proceeding by mail and facsimile. The undersigned further certifies that a copy of the foregoing
Notice of Removal is being filed with the Clerk of the Chancery Court for Sullivan County,

State of Tennessee, where the underlying action is pending

s/ Rockfol'de D. King
Rockforde D. King

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